
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-033-CV



LEN FREEMYER	APPELLANT



V.



FIRST BANK 	APPELLEE



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FROM THE 352
ND
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered the “Agreed Joint Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM	

PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: April 29, 2004	 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




